Violation Notice

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DEFENDANT INFORMATI

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United States District Court ——

STATEMENT OF PROBABLE CAUSE
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